                                                      Entered on Docket
                                                      December 03, 2015
                                                      EDWARD J. EMMONS, CLERK
                                                      U.S. BANKRUPTCY COURT
                                                      NORTHERN DISTRICT OF CALIFORNIA

                                         Signed and Filed: December 3, 2015
     LAW OFFICES OF KEVIN D. FREDERICK
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 4
     Attorneys for Creditor:      ________________________________________
 5   WINSTON SQUARE HOMEOWNERS ASSOCIATION
                                  DENNIS MONTALI
                                                   U.S. Bankruptcy Judge
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 8                                 UNITED STATES BANKRUPTCY COURT
 9                                 NORTHERN DISTRICT OF CALIFORNIA
10                                        SAN FRANCISCO DIVISION
11
     In Re:                                              )     Case No.: 03-55089
12                                                       )
     PLATINUM ROOFING, INC.                              )     Chapter 11
13                                                       )
                    Debtor(s),                           )     ORDER RE APPLICATION TO CLOSE
14                                                       )     REOPENED CASE
                                                         )
15                                                       )     Hearing Date: n/a
                                                         )     Hearing Time: n/a
16                                                       )     Hearing Judge: Honorable Dennis Montali
                                                         )     Courtroom : 22
17                                                       )
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              Upon considering the application of WINSTON SQUARE HOMEOWNERS ASSOCIATION
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20   (“Applicant”) to close this reopened case, the Court finds that good cause exists and it is hereby ordered

21   that Bankruptcy Case No. 03-55089 is closed.
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                                               ***End of Order***
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     Case: 03-55089      Doc# 245REFiled:
                          ORDER           12/03/15 TO
                                    APPLICATION     Entered:
                                                      CLOSE12/03/15 15:04:01
                                                             REOPENED   CASE Page 1 of 2
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 2                                           Court Service List
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 4   All ECF Recipients
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                           ORDER           12/03/15 TO
                                     APPLICATION     Entered:
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                                                              REOPENED   CASE Page 2 of 2
